          Case 5:22-cv-04325-EJD Document 404 Filed 12/05/22 Page 1 of 5




 1

 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT

 9                         NORTHERN DISTRICT OF CALIFORNIA

10                                   SAN JOSE DIVISION

11
     FEDERAL TRADE COMMISSION,                Case No. 5:22-cv-04325-EJD
12

13          Plaintiff,                        [PROPOSED] ORDER ON
     v.                                       DEFENDANTS’ ADMINISTRATIVE
14                                            MOTION TO CONSIDER WHETHER
     META PLATFORMS, INC., et al.,            ANOTHER PARTY’S MATERIAL
15                                            SHOULD BE SEALED
            Defendants.
16                                            Dept.: Courtroom 4 – 5th Floor
                                              Judge: Hon. Edward J. Davila
17

18

19

20

21

22

23

24

25

26

27

28

     [PROPOSED] ORDER                                        Case No. 5:22-cv-04325-EJD
          Case 5:22-cv-04325-EJD Document 404 Filed 12/05/22 Page 2 of 5




 1          With respect to information that several non-parties designated as confidential, Defendants

 2   Meta Platforms, Inc. and Within Unlimited, Inc. (collectively, “Defendants”) filed an

 3   Administrative Motion To Consider Whether Another Party’s Material Should Be Sealed

 4   (“Administrative Motion”). Defendants, in accordance with Civil Local Rule 79-5(c)(3),

 5   identified “in table format each document or portion thereof that is sought to be sealed,” namely:

 6
      Document                           Portions To Be Filed         Designating Party
 7                                       Under Seal
 8    Defendants’ Proposed Findings      Paragraph 10, line 16        Alphabet
      of Fact and Conclusions of Law
 9    Defendants’ Proposed Findings      Paragraph 15, line 13        HTC
      of Fact and Conclusions of Law
10
      Defendants’ Proposed Findings      Paragraph 16, lines 16-18    Sony
11    of Fact and Conclusions of Law
12    Defendants’ Proposed Findings      Paragraph 16, lines 20-21    Apple
      of Fact and Conclusions of Law
13    Defendants’ Proposed Findings      Paragraph 17, lines 22-23    Apple, ByteDance, Alphabet
      of Fact and Conclusions of Law
14
      Defendants’ Proposed Findings      Paragraph 17, page 3, line   Alphabet
15    of Fact and Conclusions of Law     27 to page 4, line 1
16    Defendants’ Proposed Findings      Paragraph 17, page 4,        Alphabet
      of Fact and Conclusions of Law     lines 1-2
17    Defendants’ Proposed Findings      Paragraph 17, page 3,        Valve
      of Fact and Conclusions of Law     lines 3-4
18
      Defendants’ Proposed Findings      Paragraph 18, lines 6-10     ByteDance
19    of Fact and Conclusions of Law
20    Defendants’ Proposed Findings      Paragraph 18, lines 11-14    ByteDance
      of Fact and Conclusions of Law
21    Defendants’ Proposed Findings      Paragraph 19, lines 15-21    Apple
      of Fact and Conclusions of Law
22
      Defendants’ Proposed Findings      Paragraph 20, lines 22-26    Alphabet
23    of Fact and Conclusions of Law
24    Defendants’ Proposed Findings      Paragraph 21, lines 7-16     Alphabet
      of Fact and Conclusions of Law
25    Defendants’ Proposed Findings      Paragraph 21, lines 12-13    ByteDance
26    of Fact and Conclusions of Law
      Defendants’ Proposed Findings      Paragraph 21, lines 13-15    Sony
27    of Fact and Conclusions of Law
28
                                                       1
     [PROPOSED] ORDER                                                    Case No. 5:22-cv-04325-EJD
        Case 5:22-cv-04325-EJD Document 404 Filed 12/05/22 Page 3 of 5




     Document                         Portions To Be Filed        Designating Party
 1
                                      Under Seal
 2   Defendants’ Proposed Findings    Paragraph 21, lines 15-16   Valve
     of Fact and Conclusions of Law
 3
     Defendants’ Proposed Findings    Paragraph 22, lines 3-5     Sony, Pico, Apple, Google
 4   of Fact and Conclusions of Law
     Defendants’ Proposed Findings    Paragraph 23, line 23       Sony
 5
     of Fact and Conclusions of Law
 6   Defendants’ Proposed Findings    Paragraph 26, lines 12-16   Valve
     of Fact and Conclusions of Law
 7
     Defendants’ Proposed Findings    Paragraph 26, lines 16-18   Apple
 8   of Fact and Conclusions of Law
     Defendants’ Proposed Findings    Paragraph 27, lines 1-4     Apple
 9
     of Fact and Conclusions of Law
10   Defendants’ Proposed Findings    Paragraph 27, lines 4-7     Alphabet
     of Fact and Conclusions of Law
11
     Defendants’ Proposed Findings    Paragraph 27, line 8        Sony
12   of Fact and Conclusions of Law
     Defendants’ Proposed Findings    Paragraph 27, line 14       VirZoom
13
     of Fact and Conclusions of Law
14   Defendants’ Proposed Findings    Paragraph 28, lines 24-25   Apple
     of Fact and Conclusions of Law
15
     Defendants’ Proposed Findings    Paragraph 28, lines 25-27   ByteDance
16   of Fact and Conclusions of Law
17   Defendants’ Proposed Findings    Paragraph 28, lines 27-18   Sony
     of Fact and Conclusions of Law
18   Defendants’ Proposed Findings    Paragraph 29, lines 12-13   Sony
     of Fact and Conclusions of Law
19
     Defendants’ Proposed Findings    Paragraph 31, lines 27-28   Apple
20   of Fact and Conclusions of Law
21   Defendants’ Proposed Findings    Paragraph 44, lines 24-26   VirZoom
     of Fact and Conclusions of Law
22   Defendants’ Proposed Findings    Paragraph 57, lines 13-18   Apple
     of Fact and Conclusions of Law
23
     Defendants’ Proposed Findings    Paragraph 57, lines 18-19   FitBit
24   of Fact and Conclusions of Law
25   Defendants’ Proposed Findings    Paragraph 57, lines 19-21   Lululemon
     of Fact and Conclusions of Law
26   Defendants’ Proposed Findings    Paragraph 57, lines 21-23   Nike
     of Fact and Conclusions of Law
27
     Defendants’ Proposed Findings    Paragraph 57, lines 25-26   Peloton
28   of Fact and Conclusions of Law
                                                   2
     [PROPOSED] ORDER                                                Case No. 5:22-cv-04325-EJD
        Case 5:22-cv-04325-EJD Document 404 Filed 12/05/22 Page 4 of 5




     Document                         Portions To Be Filed         Designating Party
 1
                                      Under Seal
 2   Defendants’ Proposed Findings    Paragraph 58, line 27        Equinox, Lululemon
     of Fact and Conclusions of Law
 3
     Defendants’ Proposed Findings    Paragraph 58, page 16,       Lululemon
 4   of Fact and Conclusions of Law   line 28 to page 17, line 2
     Defendants’ Proposed Findings    Paragraph 58, line 2         Equinox
 5
     of Fact and Conclusions of Law
 6   Defendants’ Proposed Findings    Paragraph 59, line 11        VirZoom
     of Fact and Conclusions of Law
 7
     Defendants’ Proposed Findings    Paragraph 61, line 11        Alphabet
 8   of Fact and Conclusions of Law
     Defendants’ Proposed Findings    Paragraph 63, line 3-4       Lululemon
 9
     of Fact and Conclusions of Law
10   Defendants’ Proposed Findings    Paragraph 64, line 12        VirZoom
     of Fact and Conclusions of Law
11
     Defendants’ Proposed Findings    Paragraph 66, lines 19-20    Apple, Equinox
12   of Fact and Conclusions of Law
     Defendants’ Proposed Findings    Paragraph 66, lines 20-25    Equinox
13
     of Fact and Conclusions of Law
14   Defendants’ Proposed Findings    Paragraph 66, line 26        Apple
     of Fact and Conclusions of Law
15
     Defendants’ Proposed Findings    Paragraph 66, line 27        Apple, Alphabet
16   of Fact and
17   Defendants’ Proposed Findings    Paragraph 67, lines 1-9      Apple
     of Fact and Conclusions of Law
18   Defendants’ Proposed Findings    Paragraph 68, lines 10-16    Alphabet
     of Fact and Conclusions of Law
19
     Defendants’ Proposed Findings    Paragraph 69, lines 17-23    ByteDance
20   of Fact and Conclusions of Law
21   Defendants’ Proposed Findings    Paragraph 70, lines 25-26    Sony
     of Fact and Conclusions of Law
22   Defendants’ Proposed Findings    Paragraph 73, line 25        VirZoom
     of Fact and Conclusions of Law
23
     Defendants’ Proposed Findings    Paragraph 96, lines 19-20    Equinox
24   of Fact and Conclusions of Law
25   Defendants’ Proposed Findings    Paragraph 98, line 28        VirZoom
     of Fact and Conclusions of Law
26   Defendants’ Proposed Findings    Paragraph 101, line 15       Apple
     of Fact and Conclusions of Law
27
     Defendants’ Proposed Findings    Paragraph 110, line 16       Apple
28   of Fact and Conclusions of Law
                                                    3
     [PROPOSED] ORDER                                                Case No. 5:22-cv-04325-EJD
          Case 5:22-cv-04325-EJD Document 404 Filed 12/05/22 Page 5 of 5




      Document                           Portions To Be Filed         Designating Party
 1
                                         Under Seal
 2    Defendants’ Proposed Findings      Paragraph 118, line 9        VirZoom
      of Fact and Conclusions of Law
 3
      Defendants’ Proposed Findings      Paragraph 141, lines 14-     Apple, Lululemon, Peloton
 4    of Fact and Conclusions of Law     16
      Defendants’ Proposed Findings      Paragraph 155, lines 7-8     FTC
 5
      of Fact and Conclusions of Law
 6    Defendants’ Proposed Findings      Paragraph 155, lines 11-     FTC
      of Fact and Conclusions of Law     12
 7
      Defendants’ Proposed Findings      Paragraph 155, lines 17-     FTC
 8    of Fact and Conclusions of Law     18
      Defendants’ Proposed Findings      Paragraph 161, lines 13-     Apple
 9
      of Fact and Conclusions of Law     16
10
              Having considered Defendants’ Administrative Motion;
11
              IT IS HEREBY ORDERED that the Administrative Motion is:
12
              [ ] GRANTED IN ITS ENTIRETY. The unredacted versions of Defendants’ Proposed
13
     Findings of Fact and Conclusions of Law shall remain under seal.
14
              [ ] DENIED IN ITS ENTIRETY. Defendants shall file a complete unredacted version of
15
     Defendants’ Proposed Findings of Fact and Conclusions of Law within 7 days of entry of this
16
     Order.
17
              [x] GRANTED/DENIED IN PART. Defendants shall file a revised redacted version of
18
     Defendants’ Proposed Findings of Fact and Conclusions of Law, redacting only the information
19
     contained in the foregoing specified paragraphs within 7 days of entry of this Order.*
20
     DATED:             December 5 , 2022
21
                                                  Honorable Edward J. Davila
22                                                United States District Judge
                                                  Northern District of California
23

24 * The Court has not received a statement from Non-Party VirZOOM, Inc. pursuant to Civil
   L.R. 79-5(f)(3). Accordingly, the Administrative Motion is DENIED WITHOUT PREJUDICE
25
   as to the purported confidential information of VirZOOM, Inc.
26

27

28
                                                       4
     [PROPOSED] ORDER                                                    Case No. 5:22-cv-04325-EJD
